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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLIIMBIA

UNITED STATES OF AMERICA                     :          Crilllinal No.18‑cr…   00146

               v.                           :           FILED UNDER SEAL
ISABELLE GARCIA,                            :

               Defbndant.               :

                                                ORDER

        The United States has flled a lnotion to unseal all pleadings and entries on thc public


docket. Upon considcration ofthe GoverIImcnt's inotion and the entire record,itis ORDEШ
                                                                                                  D

thatthe Govemment's motionis GRANTED;

        Thc Clerk ofthc Court shall unseal all plcadings and entncs on thc public dockct.




Date:


                                                         John D.Bates
                                                         WITED STATES DISTRICT」 UDGE
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